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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                   No. CV-16-03602-PHX-DJH
10                 Plaintiff,                         ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                   Defendants.
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15          This matter is before the Court on the Notice of Settlement as to Defendant
16   Portfolio Recovery Associates, LLC Only (Doc. 114).
17          Accordingly,
18          IT IS ORDERED that a Stipulation to Dismiss as to Defendant Portfolio
19   Recovery Associates, LLC only shall be filed on or before June 25, 2018. If said
20   Stipulation to Dismiss has not been filed by June 25, 2018, the parties shall file a Status
21   Report to the Court on that date.
22          IT IS FURTHER ORDERED that any other case management deadlines as to
23   Defendant Portfolio Recovery Associates, LLC only are VACATED.
24          Dated this 26th day of April, 2018.
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                                                  Honorable Diane J. Humetewa
27                                                United States District Judge

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